Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 1 of 8

TO THE JURY:

As I said in the courtroom, the schedule is up to you. You may work as long
as you like tonight, or you may recess for the evening at any time you choose. If
you continue working tonight, we will have dinner brought in, at your request.

If you recess for the evening, you should start again tomorrow morning at
9:00, but you may move the starting time earlier (to as early as 8:00) if you all
agree to the change. If you decide to recess, please tell the court security officer
that you have made that decision, and tell the officer the time at which you plan to
resume in the morning.

One part of this is very important. You may deliberate only when all 12 of
you are present. So, if you recess for the evening, you should not start deliberating
in the morning until all 12 of you have arrived.

If you recess, please continue to abide by my instructions not to discuss the
case with anyone, other than with other members of the jury when all 12 of you are
present. And do not obtain any information relevant to the case from any source.

By sending this note, I do not suggest that you should or should not continue
working tonight or recess until the morning. That is entirely up to you.

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/ ee ;
Robert L. Hinkle
United States District Judge
Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 2 of 8

United States District Court

 

Northern District of Florida JURY COMMUNICATION
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Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 3 of 8

TO THE JURY:

Abstaining can be an official act as set out on page 8 of the instructions. This
is so whether abstaining is carried out by leaving the dais or in some other way.

“Willfully” has the meaning I gave you in the original instructions at page
20.

For the first count, fifth element, it does not matter when the conspiracy
began. For this element to be satisfied, you must find that the conspiracy was in
existence at some time on or after May 9, 2014.

Under Florida law, a written contract is not required to hire a lobbyist. Note,
though, that for the most part, what matters in this case is what the parties
understood, not necessarily what the law actually requires.

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Robert L. Hinkle
United States District Judge
Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 4 of 8

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Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 5 of 8

TO THE JURY:

Please keep working until at least 6:00 tonight. You may adjourn then, or
you may work later if you choose to do so. If you choose to work later and wish to
have dinner brought in, tell the court security officer.

If you decide to recess at 6:00 or later, you should start again tomorrow
morning at 9:00, but you may move the starting time earlier (to as early as 8:00) if
you all agree to the change. If you decide to recess, please tell the court security
officer that you have made that decision, and tell the officer the time at which you
plan to resume in the morning.

One part of this is very important. You may deliberate only when all 12 of
you are present. So, if you recess for the evening, you should not start deliberating
in the morning until all 12 of you have arrived.

If you recess, please continue to abide by my instructions not to discuss the
case with anyone, other than with other members of the jury when all 12 of you are
present. And do not obtain any information relevant to the case from any source.

By sending this note, I do not suggest that you should or should not continue
working after 6:00 or recess until the morning.

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Robert L. Hinkle
United States District Judge
Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 6 of 8

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Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 7 of 8

United States District Court
Northern District of Florida JURY COMMUNICATION

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Case 4:18-cr-00076-RH-EMT Document 441 Filed 08/13/21 Page 8 of 8

TO THE JURY:
This is the response to your substantive question:
On any issue in the case, you may consider all the evidence.
This is the response to your scheduling question:

You are the only ones who know how long it may take for you to
reach a verdict. If you do not reach a verdict this afternoon, please
plan to work until at least 6:00 p.m. At that point, as with the last two
nights, you may work longer if you wish—and we will have dinner
brought in at your request—or you may adjourn for the evening.

If you do not reach a verdict today, please plan to resume your
deliberations tomorrow morning. If you still have not reached a
verdict by 2:30 tomorrow, you should continue to deliberate. We will
adjourn at that time only if you tell me it is impossible to find a
replacement for a job that cannot be left vacant. What you are doing
here is as important as any other job you might be called on to
perform.

You may make telephone calls to address scheduling issues at home
or at work.

I understand this a lot to ask. Indeed, you have all been asked to do a
lot already. You have provided and are still providing important
service. Thank you.

*

(overth pptl,

Robert L. Hinkle
United States District Judge
